843 F.2d 1392
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    No. 87-5854.
    Diana Howard SMITH, Plaintiff-Appellant,v.William Thomas HOWARD, Defendant-Appellee.
    
      1
      United States Court of Appeals, Sixth Circuit.
    
    
      2
      April 11, 1988.
    
    
      3
      Before KEITH and ALAN E. NORRIS, Circuit Judges, and GEORGE E. WOODS, District Judge.*
    
    ORDER
    
      4
      This case has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.  Upon examination of the record and briefs, this panel unanimously agrees that oral argument is not needed.  Fed.R.App.P. 34(a).
    
    
      5
      Upon consideration, we affirm the judgment of the district court for the reasons stated in its memorandum opinion and order filed July 1, 1987.  Rule 9(b)(5), Rules of the Sixth Circuit.
    
    
      
        *
         The Honorable George E. Woods, U.S. District Judge for the Eastern District of Michigan, sitting by designation
      
    
    